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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                            March 27, 2025

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                                      RESPONSE REQUESTED
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        No.    25-1291,             American Federation of State, County and Municipal v.
                                    SSA
                                    1:25-cv-00596-ELH

        TO:     American Federation of State, County and Municipal Employees, AFL-CIO
                American Federation of Teachers
                Alliance for Retired Americans

        RESPONSE DUE: 03/28/2025 by 5:00 p.m.

        Response is required to the time-sensitive motion for stay pending appeal and
        immediate administrative stay on or before 03/28/2025 by 5:00 p.m.

        Emily Borneisen, Deputy Clerk
        804-916-2704
